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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      : 4:17-CR-00403
                                              :
                   v.                         : (Judge Brann)
                                              :
RAYMOND KRAYNAK                               : (Electronically Filed)

             MOTION IN LIMINE TO PRECLUDE EVIDENCE
                   UNDER F.R.E 402, 403 AND 404


       AND NOW, comes the defendant, Raymond Kraynak, by his attorneys

Thomas A. Thornton and Gerald A. Lord of the Federal Public Defender’s Office,

and files this Motion in Limine to Preclude Evidence Under F.R.E. 402, 403 and

404.

   1. On December 20, 2017, an Indictment was filed charging Raymond Kraynak

with the unlawful distribution and dispensing of a controlled substance, in

violation of 21 U.S.C. § 841(a)(1) (Counts 1 through 12); unlawful distribution and

dispensing of a controlled substance resulting in death, in violation of 21 U.S.C. §

841(a)(1) and (b)(1)(C) (Counts 13-17); and maintaining drug-involved premises,

in violation of 21 U.S.C. § 856(a)(1) (Count 18 and 19).

   2. On December 21, 2017, Raymond Kraynak appeared before Magistrate

Judge Susan E. Schwab for an initial appearance and arraignment. The Federal

Public Defender was appointed to represent Dr. Kraynak.
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   3. By order of February 4, 2021, this Honorable Court scheduled jury selection

and trial for September 7, 2021, set the deadline for filing pretrial motions and

briefs to be filed on or before May 10, 2021 and set the deadline for filing motions

in limine to be filed on or before June 7, 2021. (Doc. 101).

   4. The Pennsylvania Legislature established the Prescription Drug Monitoring

program for Pennsylvania (Pa. PDMP) by Act 91 of 2014. Other states have

previously adopted similar monitoring programs.

   5. The purpose of the Act is (1) to be used as a tool to increase the quality of

patient care by giving prescribers and dispensers access to a patient’s controlled

substance prescription medication history, which will alert medical professionals to

potential dangers for the purposes of making treatment determinations; and (2) to

aid regulatory and law enforcement agencies in the detection of fraud , drug abuse

and diversion of controlled substances.

   6. Dispensers were required to begin submitting that information on January 1,

2017.

   7. All of the distribution charged in the indictment occurred before 2017.

   8. In paragraphs 9 -12 of the indictment, the government uses the Pa. PDMP to

make allegations regarding the number and percentage of pills prescribed by Dr.

Kraynak.
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   9. While counsel has not received formal F.R.C.P. 404(b) notice, this is clearly

an attempt to introduce extrinsic evidence of wrongdoing or other acts.

   10. The government was also provided a letter from an attorney at Anthem

Blue Cross/Blue Shield written on May 15, 2015.

   11. That letter references allegations and conclusions by Express Scripts,

which is Anthem’s Pharmacy Benefits Manager, regarding quantities, types and

combinations of medications prescribed by Dr. Kraynak.

   12. This letter goes on to describe other “Insurance Company Complaints” that

constitute allegation of inadmissible wrongs or other acts.

   13. Dr. Kraynak requests that this Honorable Court preclude the government

from introducing any evidence regarding: 1) the PDMP, 2) any evidence regarding

combinations of controlled substances; 3) any evidence from Anthem Blue

Cross/Blue Shield concerning numbers of prescriptions, percentages, comparisons

to other physicians and insurance company complaints.

   14. Such evidence is not admissible as intrinsic evidence, nor would it be

admissible pursuant to Rules 404(b) and 403 of the Federal Rules of Evidence.

   15. Evidence is intrinsic if it falls into one of two categories: 1) if it directly

proves the charged offense; or 2) uncharged acts performed contemporaneously

with the charged crime are intrinsic if they facilitate the commission of the charged

crime.
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   16. All else must be analyzed under Rule 404(b). Here, the government seeks

to introduce evidence which was neither performed contemporaneously with the

charged crimes nor did it facilitate the charged crimes and seems to be offered only

to paint Dr. Kraynak with the sticky taint of propensity.

Rule 404(b)

   17. If the court finds the evidence to be extrinsically related to the wrongs

charged, the court must subsequently evaluate whether evidence of other crimes or

acts is admissible under Rule 404(b) based on a four-part test:

         (1) [T]he evidence must have a proper purpose; (2) it must be relevant;
         (3) its probative value must outweigh its potential for unfair prejudice;
         and (4) the court must charge the jury to consider the evidence only for
         the limited purposes for which it is admitted.


   18.         Here, the government cannot articulate a purpose that would exempt

such evidence from the general rule that evidence of a crime, wrong, or other act is

not admissible to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character. See Rule 404(b)(1).

Rule 402 and 403

   19.         All evidence must be relevant to be admitted under F.R.E. 402.

Moreover, if the Court finds that such evidence is relevant, the evidence would be

precluded pursuant to Rule 403 of the Federal Rules of Evidence which provides in

relevant part:
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          “[a]lthough relevant, evidence may be excluded if its probative
         value is substantially outweighed by the danger of unfair
         prejudice, confusion of the issues, or misleading the jury, or by
         considerations of undue delay, waste of time, or needless
         presentation of cumulative evidence.” Fed. R. Evid. 403.

   20.          In this case, the alleged uncharged wrong or other acts are irrelevant,

would unduly prejudice Dr. Kraynak, confuse and mislead the jury, and cause

undue delay.

   21.         The evidence the government seeks to introduce should be excluded

from trial as the prejudicial impact certainly outweighs the benefit to the

government, which has actual patients to present at trial.

         WHEREFORE, for the foregoing reasons, Dr. Kraynak respectfully

requests that this Honorable Court grant his Motions in Limine.

Date: June 7, 2021

Respectfully submitted,
/s/ Thomas A. Thornton                       /s/Gerald A. Lord
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                          CERTIFICATE OF SERVICE


      Thomas A. Thornton and Gerald A. Lord, Assistant Federal Public

Defenders, do hereby certify that this document, the foregoing motion, filed

electronically through the ECF system will be sent to the registered Participants as

identified on the Notice of Electronic Filing, including the following:


                     WILLIAM BEHE, ESQUIRE
                     Assistant United States Attorney


and by placing the same in the United States mail, first class, postage prepaid, at

Harrisburg / Williamsport, Pennsylvania, addressed to the following:

                     RAYMOND KRAYNAK


Date: June 7, 2021

s/Thomas A. Thornton                          s/Gerald A. Lord
Thomas A. Thornton                            Gerald A. Lord, Esquire
Assistant Federal Public Defender             Assistant Federal Public Defender
